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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

IN RE:                                         )
                                               )
ROBERT WILLIAM WOODARD,                        )       No. 16-90899
                                               )       Chapter 7
                Debtor.                        )


                MOTION FOR BANKRUPTCY RULE 2004 EXAMINATION

         NOW COMES Jeffrey D. Richardson, Chapter 7 Trustee, and for his Motion respectfully

states as follows:

         1.     The Debtor, Robert William Woodard, filed his voluntary petition for relief under

Chapter 13 of the United States Bankruptcy Code on September 12, 2016.

         2.     The case was ultimately converted to a Chapter 7 bankruptcy case, and I now serve

as the Debtor’s Chapter 7 bankruptcy Trustee.

         3.     At the time the Debtor filed his bankruptcy case, the Debtor was the plaintiff in

certain Coles County litigation, which he did not schedule as an asset.

         4.     The Debtor received his Chapter 7 discharge on January 29, 2018.

         5.     After the entry of the Debtor’s discharge, the defendant in that Coles County case

moved to dismiss the personal injury case and has argued various reasons why the Debtor should be

judicially estopped from proceeding with the case.

         6.     As Trustee, it is my request to examine the Debtor more fully concerning his aforesaid

conduct.

         WHEREFORE, Jeffrey D. Richardson, Chapter 7 Trustee, respectfully prays that the Court

authorize the Bankruptcy Rule 2004 examination of the Debtor, Robert William Woodard.
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                                             /s/ Jeffrey D. Richardson
                                             JEFFREY D. RICHARDSON
                                             Chapter 7 Trustee
                                             Registration No. 02330067
                                             132 South Water Street, Suite 444
                                             Decatur, IL 62523
                                             Tel: 217/425-4082
                                             E-mail: jdrdec@aol.com


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the above instrument was filed electronically with the Court
on March 22, 2018 and that he has determined that the following persons are registered with the
Court for electronic filing, and, therefore, will be sent a copy of the pleading by the Court:

       U. S. Trustee
       Ms. Cristina M. Manuel


                                             /s/ Jeffrey D. Richardson
